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P. STERLING KERR, ESQ.

Nevada Bar No. 3978

GEORGE E. ROBINSON, ESQ.

Nevada Bar No. 9667

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Atz‘omeys for Plaintz'jj*fs "

UNITED STATES DISTRICT COURT
DISTRICT ()F NEVADA

lNTERNATIONAL MARKETS LIVE,
INC., a NeW York corporation;
CHRlSTOPl-IER TERRY, an individual;

Case No.: 2:18-ev~00187-JAD-GWF

Plaintiffs,
V.

ROBERT HALTERMAN, an individual;
CHAKRA CAPITAL GROUP, an

unknown entity; SCOTT CARNEY, an
individual; ETHAN VANDERB UILT, an
individual; DAVE MACKINSQN, an ,
individual;

Del"endants.

 

 

NOTICE OF VOLUNTARY DISMISSAL WITH PREJU])ICE
Plaintiffs, INTERNATIONAL MARKETS LIVE, INC., and CHRISTOPHER
TERRY by and through their counsel of record P. Sterling Kel“r, Esq., of the LaW Offlces of
P. Sterling Kerr, and Defendants ROBERT HALTERMAN, CHAKRA CAPT]AL GROUP
and DAVE MACKINSON, have reached an agreement to dismiss this matter. Pursuant to

FRCP 41(a)(1)(A)(i), Plaintiffs hereby voluntarily dismiss their Complaint in the above-

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entitled action With prejudice as to the Defendants ROBERT HALTERMAN, CHAKRA

CAPTIAL GROUP and DAVE MACKINSON only.

DATED this ,ZPwdfay of April, 2018.

LAW lF ICE

""'. s‘TERLING KERR, ESQ.

 

 

  

.- ". STERLING KERR

Nevada Bar No. 3978

GEORGE E. ROBINSON, ESQ.
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Case 2:18-cV-00187-.]AD-GWF Document 11 Filed 04/02/18 Page 3 of 3

CERTIFICATE OF SERVICE
The undersigned hereby certifies on A'pril_‘L/A, 2018, a true and correct
copy of the NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE Was served
to the following at their last known address(es), facsimile numbers and/or e-mail/ other

electronic means, pursuant to:

§§ BY MAIL: N.R.C.P. 5(b), I deposited by first class United States
mailing, postage prepaid at Henderson Nevada;

BY FAX: E.D.C.R. 7.26(a), l served via facsimile at the
telephone number provided for such transmissions

BY MAIL AND FAX: N.R.C.P 5(b), I deposited by first class
United States mail, postage prepaid in Henderson, Nevada; and via
facsimile pursuant to E.D.C.R. 7.26(21)

BY E~MAIL AND/OR ELECTRONIC MEANS: N.R.C.P.
5(b)(2)(D) and addresses (s) having consented to electronic service, I
via e-lnail or other electronic means to the e-rnail address(es) of the
addressee(s). ‘

Robert Halterman
332 Campbell Road
Ridgeville, SC 29472

Dave Mackinson
943 06 Ducl< Lal<e Drive
Fernandina Beach, FL 32034

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